Case 8:17-cv-01578-JDW-MAP Document 67-4 Filed 05/23/18 Page 1 of 7 PageID 1955




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Case 8:17-cv-01578-JDW-MAP Document 67-4 Filed 05/23/18 Page 2 of 7 PageID 1956
      RICHARD COLON vs SE INDEPENDENT DELIVERY SERVICES
      TERRI HARRINGTON on 02/23/2018                                              ·

·1· · · · · · · · UNITED STATES DISTRICT COURT
· · · · · · · · · MIDDLE DISTRICT OF FLORIDA
·2· · · · · · · · · · · ·TAMPA DIVISION

·3· ·CASE NO.:· 8:17-cv-01578-JDW-MAP

·4
· ·   ·RICHARD COLON, ON BEHALF OF
·5·   ·HIMSELF AND ALL OTHERS
· ·   ·SIMILARLY SITUATED,
·6
· ·   · · · · Plaintiff,
·7
· ·   ·vs.
·8
· ·   ·SE INDEPENDENT DELIVERY
·9·   ·SERVICES, INC., A FLORIDA
· ·   ·CORPORATION,
10
· ·   · · · · Defendant.
11

12· ·* * * * * * * * * * * * * * * * * * * * * * * * * * * *

13

14· ·DEPOSITION OF:· · · ·TERRI HARRINGTON

15· ·DATE TAKEN:· · · · · FRIDAY, FEBRUARY 23, 2018

16· ·TIME:· · · · · · · · 9:09 - 12:23 O'CLOCK P.M.

17· ·PLACE:· · · · · · · ·832 SOUTH FLORIDA AVENUE
· · · · · · · · · · · · · SUITE 4
18· · · · · · · · · · · · LAKELAND, FLORIDA· 33801

19
· · ·TAKEN BY:· · · · · · SHARON L. TRAMONTE, C.M.
20· · · · · · · · · · · · NOTARY PUBLIC, STATE OF
· · · · · · · · · · · · · FLORIDA AT LARGE
21

22

23

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Case 8:17-cv-01578-JDW-MAP Document 67-4 Filed 05/23/18 Page 3 of 7 PageID 1957
    RICHARD COLON vs SE INDEPENDENT DELIVERY SERVICES
    TERRI HARRINGTON on 02/23/2018                                        Page 23

·1· ·approval from one of those other managers?

·2· · · · A· · They would submit something to us, and unless

·3· ·it was submitted we would not know.

·4· · · · Q· · All right.· Is there a -- is it a written

·5· ·submission that they give to you?

·6· · · · A· · Yes, it would be.

·7· · · · Q· · What's that?· Is there a name for that form?

·8· · · · A· · Well, it -- they could write up a special

·9· ·form, Special and Set Up Form, or it may be in the form

10· ·of an e-mail.

11· · · · Q· · Okay.· Go down to the next one there.· It says

12· ·Exchange of Goods.

13· · · · A· · Okay.

14· · · · Q· · What does that mean to you, to SEIDS?

15· · · · A· · That there was an exchange, and often we refer

16· ·to it as an even exchange, which means the customer has

17· ·an item in their home that is either damaged or for

18· ·whatever reason they don't want this piece, they want it

19· ·replaced.· The driver is bringing into their home an

20· ·identical piece in good condition and he's going to take

21· ·out that same piece.

22· · · · Q· · That's an even exchange?

23· · · · A· · Yes, sir.

24· · · · Q· · Okay.· And how much is a driver supposed to be

25· ·paid for an even exchange?
· · · · · · · · · · · · · · · ·.


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Case 8:17-cv-01578-JDW-MAP Document 67-4 Filed 05/23/18 Page 4 of 7 PageID 1958
    RICHARD COLON vs SE INDEPENDENT DELIVERY SERVICES
    TERRI HARRINGTON on 02/23/2018                                        Page 74

·1· · · · A· · Yes, it appears to.

·2· · · · Q· · Okay.· Are all of the item numbers, are those

·3· ·unique in -- meaning that once it gets used it's never

·4· ·used again?

·5· · · · A· · Correct.

·6· · · · Q· · Okay.· So can you tell by looking at the

·7· ·manifest, Bates No. 1384, whether this item was refused?

·8· · · · A· · No, you can't.

·9· · · · Q· · If this customer accepted the delivery of the

10· ·item, how should the driver have been paid if

11· ·they -- assume -- assume that it had been accepted and

12· ·not refused?

13· · · · A· · He would have been paid the percentage of

14· ·$534.73.

15· · · · Q· · Okay.· Based on whatever zone he was in?

16· · · · A· · Yes.

17· · · · Q· · Okay.· How is a driver paid if they are going

18· ·out to do an exchange?· Say they're exchanging a sofa,

19· ·okay?· And if they're going out to do an exchange of a

20· ·sofa they're supposed to be paid, is it $30?

21· · · · A· · Yes.

22· · · · Q· · Okay.· They do the exchange and then a day

23· ·later the customer calls up and says I want another

24· ·exchange, I don't like the color of the one that was

25· ·just delivered, okay?
· · · · · · · · · · · · · · · ·.


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Case 8:17-cv-01578-JDW-MAP Document 67-4 Filed 05/23/18 Page 5 of 7 PageID 1959
    RICHARD COLON vs SE INDEPENDENT DELIVERY SERVICES
    TERRI HARRINGTON on 02/23/2018                                        Page 75

·1· · · · A· · Yes.

·2· · · · Q· · Are you with me?· The driver that did that

·3· ·initial exchange that was paid $30, how are -- do they

·4· ·keep their $30 if they are -- if that sofa is later

·5· ·exchanged again --

·6· · · · A· · Absolutely.

·7· · · · Q· · -- a day later?

·8· · · · A· · Absolutely.

·9· · · · Q· · So that's not ever reduced to a refusal?

10· · · · A· · No.

11· · · · Q· · Okay.· Or reduced to nine dollars?

12· · · · A· · No.

13· · · · Q· · Okay.· Is there any way to -- how could we

14· ·tell -- what documents could we look at to see whether

15· ·something was -- to see that sequence of events in terms

16· ·of can we look at the item -- the sales order number?

17· ·Can we isolate just a single sales order number and see

18· ·every time a driver had been out to a certain customer?

19· · · · A· · Not -- not from a specific sales order number.

20· ·You could only tell what happened with that particular

21· ·order.

22· · · · Q· · Okay.· Is a new order created every time a

23· ·driver goes out --

24· · · · A· · Yes, it is.

25· · · · Q· · -- a new order number?· Okay.
· · · · · · · · · · · · · · · ·.


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Case 8:17-cv-01578-JDW-MAP Document 67-4 Filed 05/23/18 Page 6 of 7 PageID 1960
    RICHARD COLON vs SE INDEPENDENT DELIVERY SERVICES
    TERRI HARRINGTON on 02/23/2018                                        Page 101

·1· ·discussed, the going to help another driver, the not at

·2· ·homes possibly.· Basically any -- anything that came up

·3· ·during the course of business.

·4· · · · Q· · Fuel?

·5· · · · A· · Yes.

·6· · · · Q· · Okay.· Waiting too long?

·7· · · · A· · Yes.

·8· · · · Q· · You said not at home.· Is that the same as

·9· ·waiting too long?

10· · · · A· · Yes.

11· · · · Q· · Okay.· Helper pay?

12· · · · A· · Yes.

13· · · · Q· · Okay.· Why were those not put in this Payable

14· ·Specials form?

15· · · · A· · Because there's no set amount for those types

16· ·of things.

17· · · · Q· · Okay.· How long has SEIDS been paying out for

18· ·those other types of specials; fuel, not at homes,

19· ·helpers?

20· · · · A· · As long as I can remember.

21· · · · Q· · Okay.

22· · · · · · ·MR. TURNER:· We'll mark this as Plaintiff's

23· · · · 12.

24· · · · · · ·(Plaintiff's Exhibit No. 12 was marked.)

25
· · · · · · · · · · · · · · · ·.


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Case 8:17-cv-01578-JDW-MAP Document 67-4 Filed 05/23/18 Page 7 of 7 PageID 1961
    RICHARD COLON vs SE INDEPENDENT DELIVERY SERVICES
    TERRI HARRINGTON on 02/23/2018                                        Page 120

·1· · · · A· · I don't keep a count on who complains about

·2· ·what, but it's -- usually we solve whatever the problem

·3· ·is so it's --

·4· · · · Q· · How often were drivers complaining to you

·5· ·about not being paid specials?

·6· · · · A· · I don't know.· I -- like I said, I didn't

·7· ·keep --

·8· · · · Q· · Once a week, once a month?

·9· · · · A· · Oh, yeah, not -- definitely not once a week,

10· ·and I wouldn't even say once a month.

11· · · · Q· · And when they -- when they complained about

12· ·not being paid a special, what would you do in response

13· ·to that?

14· · · · A· · It would depend on the complaint.· I recall

15· ·specifically Mr. Colon, his -- he complained about not

16· ·getting paid for specials.· And I was like where were

17· ·they?· And he said he had put them on the trailer.· If I

18· ·don't receive them I can't pay them.

19· · · · · · ·I advised him not to put them on his trailer

20· ·anymore, to leave them at the store or make a copy, but

21· ·don't ever send me the originals because I can't -- I

22· ·can only account for what I receive.· I can't account

23· ·for what may have been lost in transit.

24· · · · · · ·If it was, you know, a specific special that I

25· ·received, maybe there was a question on it, it may have
· · · · · · · · · · · · · · · ·.


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